
USCA1 Opinion

	




                 United States Court of Appeals
                     For the First Circuit





No. 98-1744

            FHS PROPERTIES LIMITED PARTNERSHIP, ETC.,

                       Plaintiff-Appelllee,

                                v.

                      BC ASSOCIATES, ET AL.,

                     Defendants, Appellants.



                          ERRATA SHEET


     The opinion of this Court issued on April 29, 1999 is
amended as follows:

The penultimate sentence of page 17 of the opinion shall be
changed to state: "For the foregoing reasons, we affirm the
decision of the district court in part, reverse in part, and
remand to the district court for proceedings consistent with this
opinion."

